                 IN THE COURT OF APPEALS OF NORTH CAROLINA

                                        No. COA19-406

                                   Filed: 18 February 2020

Rockingham County, No. 17 CVS 1645

STARLITES TECH CORP., Petitioner,

                v.

ROCKINGHAM COUNTY, Respondent.


      Appeal by petitioner from order1 entered 1 October 2018 by Judge William A.

Wood in Rockingham County Superior Court. Heard in the Court of Appeals 30

October 2019.


      Nelson Mullins Riley &amp; Scarborough LLP, by Stuart H. Russell and Lorin J.
      Lapidus, for petitioner-appellant.

      The Brough Law Firm, PLLC, by G. Nicholas Herman and John M. Morris, for
      respondent-appellee.


      ZACHARY, Judge.


      Petitioner Starlites Tech Corp. (“Starlites”) appeals from an order of the

superior     court   affirming    the    Rockingham      County     Board   of   Adjustment’s

determination that the operation of Starlites’ business violated the special use permit

requirements set forth in Rockingham County’s amended Unified Development

Ordinance. After careful review, we reverse.




      1   We note that the judgment mistakenly refers to 17 CVS 1644.
                    STARLITES TECH CORP. V. ROCKINGHAM CTY.

                                 Opinion of the Court



                                   Background

      Starlites Tech Corp. owner and president Maurice Raynor operated multiple

electronic gaming businesses.    Raynor served as the president of M, M &amp; K

Developments, Inc. (“MM&amp;K”), and was the owner and president of Starlites

Technology, Inc.

      On 30 September 2011, Danny D. Fulp conveyed the property located at 11652

U.S. 220 Highway, Stoneville, North Carolina, (the “Property”), to MM&amp;K. On 1 May

2014, Rockingham County issued a zoning permit to MM&amp;K, enabling it to “operate

a sweepstakes business” in accordance with the County’s Unified Development

Ordinance (the “Ordinance”). The permit designated MM&amp;K as the owner of the

property, and “Starlite Technologies” as the applicant and occupant. The permit’s

description noted a “change of use to sweepstakes business” and the “addition of [a]

28x45 shelter.”

      A few months later, on 2 September 2014, the County amended the Ordinance,

setting forth permit requirements that “severely restricted the general operation of

sweepstakes businesses in the county.” Article II of the amended Ordinance defined

“Electronic Gaming Operations,” in pertinent part, as: “[a]ny for-profit business

enterprise where persons utilize electronic machines or devices, including but not

limited to, computers and gaming terminals, to conduct games of odds or chance,

including sweepstakes[.]”



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                                   Opinion of the Court



      Article IX Section 9-11(ii) set forth new restrictions for electronic gaming

operations and, by extension sweepstakes businesses. The restrictions included, in

relevant part, a requirement that electronic gaming operations obtain a special use

permit, which in turn, required that the facility be “setback[ ] 1500 feet from any

protected facility.” Protected facilities included, inter alia, single- and multi-family

dwellings.   The amended Ordinance posed a problem for MM&amp;K and Starlites

Technology, Inc. because the Property was “approximately 680 feet from the nearest

single family dwelling unit.”

      On 21 January 2015, articles of incorporation were filed for Starlites in order

to turn “the Starlites Technology, Inc. S Corp into a corporation under the advice of

[Raynor’s] attorney.” On 30 January 2015—approximately nine months after the

zoning permit was issued—MM&amp;K conveyed the Property to Starlites.                  Soon

thereafter, on 14 July 2015, articles of dissolution were filed for Starlites Technology,

Inc. and MM&amp;K. Following MM&amp;K’s dissolution, no application was filed to amend

the original zoning permit issued to MM&amp;K on 1 May 2014 to indicate that the

Property had been conveyed to Starlites.

      In November 2016, Officer Ben Curry of the Rockingham County Code

Enforcement Division received a complaint about the Property and determined that

the business constituted a development without a permit.          Officer Curry issued




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                                  Opinion of the Court



notices of violation to Starlites on 21 November 2016, 9 December 2016, and 3

January 2017.

      Starlites appealed the initial notice of violation to the Rockingham County

Board of Adjustment (“the Board”) on 21 December 2016. Starlites’ appeal came on

for hearing by the Board on 14 August 2017. Starlites argued that the notices of

violation were defective, that Starlites had never ceased operation and was not

subject to the special use permit requirement, and that Starlites ran a “Promotional

Gaming Establishment” rather than an “Electronic Gaming Operation.” Starlites

presented Raynor’s testimony along with invoices that Raynor paid in conjunction

with the continued operation of his businesses.

      On 11 September 2017, the Board entered an order denying Starlites’ appeal.

The Board concluded that Starlites’ business operation violated the County’s

amended Ordinance, that Starlites failed to obtain a special use permit, and that

Starlites was not exempt from the requirement to obtain a special use permit.

      Starlites appealed by filing a petition for writ of certiorari with the

Rockingham County Superior Court on 10 October 2017, seeking review of the order

for factual and legal errors. Starlites argued, in part, that the Board’s decision was

erroneous, and that the order was:

             b. In excess of the statutory authority conferred upon the
             Board;

                   ....


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                                  Opinion of the Court




             d. Unsupported by substantial competent evidence in view
             of the entire record because there was no evidence
             contradicting Starlites’ showing that its business
             operations on the Property had been continuously operated
             since prior to the 2014 adoption of the disputed amendment
             to the DSO;

             e. Unsupported by substantial competent evidence in view
             of the entire record because there was no evidence to
             suggest that Starlites was operating an “electronic gaming
             operation” as defined by the Rockingham County [Unified
             Development Ordinance];

             f. Affected by other error of law; and

             g. Arbitrary or capricious since the Board should not have
             heard the Appeal due to lack of proper service of a Notice
             of Violation, because the Board was not impartial, and
             because there was no legal basis for the Decision.

      The case came on for hearing before the superior court on 25 September 2018.

On 1 October 2018, the superior court entered an order affirming the Board’s order

and dismissing Starlites’ appeal. The superior court concluded, in pertinent part:

             2. On de novo review, upon dissolution of [MM&amp;K] on July
             10, 2015, the business ceased and was no longer a legally
             permitted nonconforming use because [Starlites] never
             applied for an amended or new zoning permit; and, even if
             the business resumed as a nonconforming use at some
             point after dissolution of [MM&amp;K], there was competent
             evidence under the whole record test for the [Board] to
             conclude that the business was discontinued for more than
             one year from and after July 2015 such that [Starlites] was
             required after this discontinuance to obtain zoning
             approval under the requirements of the 2014 [Ordinance]
             amendment for “electronic gaming operations.”



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                                  Opinion of the Court



      Starlites timely filed written notice of appeal to this Court.

                                Standard of Review

      Our review “is limited to determining whether the superior court applied the

correct standard of review, and to determin[ing] whether the superior court correctly

applied that standard.” Overton v. Camden Cty., 155 N.C. App. 391, 394, 574 S.E.2d

157, 160 (2002). We review a superior court’s interpretation of a zoning ordinance de

novo, and “apply the same principles of construction used to interpret statutes.” Fort

v. Cty. of Cumberland, 235 N.C. App. 541, 548-49, 761 S.E.2d 744, 749, disc. review

denied, 367 N.C. 798, 766 S.E.2d 688 (2014).

                                     Discussion

      On appeal, Starlites argues, in part, that the superior court applied the wrong

standard of review in affirming the Board’s decision. Specifically, Starlites maintains

that the superior court erroneously concluded, under de novo review, that the

Property’s “change of ownership caused its use to discontinue, which prohibited

Starlites from operating as a permissible prior non-conforming use under

Rockingham County’s Unified Development Ordinance[,]” and that “change of

ownership is an impermissible factor to support a determination that the Stoneville

property became a non-conforming use under the 2014 amended [Ordinance].” We

agree that a change of ownership does not constitute a change of use.




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                                  Opinion of the Court



      A county board of adjustment sits in a quasi-judicial capacity. Its decisions

must “be based upon competent, material, and substantial evidence in the record.”

N.C. Gen. Stat. § 160A-388(e2)(1) (2019). Every quasi-judicial decision is “subject to

review by the superior court by proceedings in the nature of certiorari pursuant to

[N.C. Gen. Stat. §] 160A-393.” Id. § 160A-388(e2)(2).

      In reviewing the decision of a board of adjustment, the superior court sits as

an appellate court. Its review is limited to “determinations of whether 1) the board

committed any errors in law; 2) the board followed lawful procedure; 3) the petitioner

was afforded appropriate due process; 4) the board’s decision was supported by

competent evidence in the whole record; and 5) . . . the board’s decision was arbitrary

and capricious.” Overton, 155 N.C. App. at 393, 574 S.E.2d at 159 (citation omitted).

See also N.C. Gen. Stat. § 160A-393(k) (addressing the superior court’s scope of review

on appeal).

      The standard of review applied by the superior court depends upon the

substantive nature of each issue presented on appeal. Morris Commc’ns Corp. v. City

of Bessemer City Zoning Bd. of Adjustment, 365 N.C. 152, 155, 712 S.E.2d 868, 870
(2011) (citation omitted). “When the petitioner questions (1) whether the agency’s

decision was supported by the evidence or (2) whether the decision was arbitrary or

capricious, then the reviewing court must apply the whole record test.” Mann Media,

Inc. v. Randolph Cty. Planning Bd., 356 N.C. 1, 13, 565 S.E.2d 9, 17 (2002) (citation



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                                  Opinion of the Court



and internal quotation marks omitted). On the other hand, de novo review is proper

when the petitioner contends that the board’s decision was based on an error of law.

Id.
      Under de novo review, an appellate “court considers the case anew and may

freely substitute its own interpretation of an ordinance for a [board’s] conclusions of

law.” Morris Commc’ns Corp., 365 N.C. at 156, 712 S.E.2d at 871; see id. (noting that

this Court has previously determined that “the superior court, sitting as an appellate

court, could freely substitute its judgment for that of [the board] and apply de novo

review as could the Court of Appeals with respect to the judgment of the superior

court” (citations omitted)).    Thus, “reviewing courts may make independent

assessments of the underlying merits of board of adjustment ordinance

interpretations,” which, in turn, “emphasizes the obvious corollary that courts

consider, but are not bound by, the interpretations of administrative agencies and

boards.”   Id. (citations and internal quotation marks omitted).      We employ this

approach for our de novo analysis below.

      After a hearing, the Board entered an order denying Starlites’ appeal,

concluding that Starlites’ business operation violated the Ordinance, that Starlites

did not obtain a special use permit, and that Starlites was not exempt from the

requirement to obtain a special use permit as a permissible nonconforming use. The

Board also made the following relevant findings of fact:



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                                  Opinion of the Court



             14. At no time prior to submitting an appeal did [Raynor]
             file documentation establishing his business constituted a
             grandfathered, non-conforming use that has continuously
             operated since 2014 thereby exempted from the special use
             requirements of [the Ordinance], Chapter 2, Article IX,
             Section 9-11(ii).

                   ....

             18. At the hearing, [Starlites] presented invoices from
             White Sands Technology billed to NC-Starlites Technology
             Inc. from January 2014 to July 2015 and invoices from
             [R]edibids billed to NC-[Starlites] from July 2015 to
             September 2015.

             19. At the hearing, [Starlites] presented Articles of
             Incorporation from the North Carolina Secretary of State
             indicating that [Starlites] was not created until January
             21, 2015.

             20. At the hearing, [Starlites] presented additional
             invoices from Baracuda [sic] Enterprises billed to [Raynor]
             [by] email . . . from January 2016 2015 [sic] to August 2017.

             21. At no time prior to submitting an appeal did [Raynor]
             file to amend his zoning permit issued to [MM&amp;K] on May
             1, 2014.

      On appeal to the superior court, Starlites, challenged, inter alia, the following

of the Board’s conclusions:

             2.   [Raynor’s] electronic gaming operation has not
             continuously operated since 2014.

             3. [Raynor’s] electronic gaming operation is not an exempt
             non-conforming use.

                   ....



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                                  Opinion of the Court



            6. [Raynor’s] electronic gaming operation is in violation of
            the special use permit requirements as set forth in [the
            Ordinance], Chapter 2, Article IX, Section 9-11(ii) because
            he is operating without a special use permit.

            7. Based on the foregoing Findings of fact and Conclusions
            of Law, the [Board] concludes that the applicant has not
            met his burden on appeal.

      Starlites argued, inter alia:

            15. The Decision erroneously contends that Starlites has
            not been continuously operating its business on the
            Property since 2014.        However, Starlites produced
            uncontested evidence in the form of testimony and business
            receipts showing that its business on the Property had been
            continuously operating an electronic gaming business prior
            to 2014 and had not been closed for more than a year.

            16. The Decision erroneously contends that Starlites’
            business on the Property is not an exempt non-conforming
            use. But since Starlites has been continuously operating
            an electronic gaming business on the Property since before
            2014, its business on the Property is in fact an exempt non-
            conforming use under Chapter 2, Article XII of the
            [Ordinance].

            17. The Decision erroneously contends that Starlites is in
            violation of the [Ordinance] because it has not obtained a
            special use permit for its business on the Property. But
            Starlites is not required to obtain a special use permit
            because its business is an exempt non-conforming use.
            Also, Starlites’ business on the Property is not an
            Electronic Gaming Operation as defined by Chapter 1
            Article II of the [Ordinance]. Thus, Starlites’ business on
            the Property does not require a special use permit.

      On review of the Board’s interpretation of the amended Ordinance as it

pertains to nonconforming use, we “apply the same principles of construction used to


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                                   Opinion of the Court



interpret statutes.” Fort, 235 N.C. App. at 549, 761 S.E.2d at 749. “In interpreting a

municipal ordinance the basic rule is to ascertain and effectuate the intent of the

legislative body. Intent is determined according to the same general rules governing

statutory construction, that is, by examining (i) language, (ii) spirit, and (iii) goal of

the ordinance.” Capricorn Equity Corp. v. Chapel Hill, 334 N.C. 132, 138, 431 S.E.2d

183, 187-88 (1993) (internal citations and quotation marks omitted). Because “zoning

ordinances are in derogation of common-law property rights, limitations and

restrictions not clearly within the scope of the language employed in such ordinances

should be excluded from the operation thereof.” Id. at 139, 431 S.E.2d at 188.

      Article II of the amended Ordinance defines “nonconformance” as “[a] lot,

structure or land use that is inconsistent with current zoning requirements, but

which was entirely lawful when it was originally established.” Article XIII Section

13-4(f) addresses the impact on nonconforming uses of structures that were in

existence when the amended Ordinance was enacted:

             When any nonconforming use of a structure is discontinued
             for a period of one year, any future use of the structure
             shall be limited to those uses permitted in that district
             under the provisions of this ordinance. Vacancy and/or
             non-use of the building, regardless of the intent of the
             owner or tenant, shall constitute discontinuance under this
             provision.

      The amended Ordinance also provides that:




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                                 Opinion of the Court



            No Special Use Permit shall be granted by the Planning
            Board unless each of the following findings is made
            concerning the proposed special use:

            (a)   That the use or development is located, designed,
            and proposed to be operated so as to maintain or promote
            the public health, safety, and general welfare;

            (b)   That the use or development complies with all
            required regulations and standards of this ordinance and
            with all other applicable regulations;

            (c)   That the use or development is located, designed,
            and proposed to be operated so as to maintain or enhance
            the value of contiguous property or that the use or
            development is a public necessity; and

            (d)   That the use or development conforms with the
            general plans for the land use and development of
            Rockingham County as embodied in this chapter and in the
            Rockingham County Development Guide.

            There shall be competent, material and substantial
            evidence in the record to support these conclusions and the
            Planning Board must find that all of the above exist or the
            application will be denied.

      Approximately four months before the amended Ordinance was enacted,

Rockingham County issued a zoning permit allowing MM&amp;K to operate a

sweepstakes business on the Property, in compliance with the County’s then-existing

Ordinance. The permit designated MM&amp;K as the Property’s owner, and “Starlite

Technologies” as the applicant and occupant. The County’s approval of MM&amp;K’s

permit application indicates that, at the time the permit was issued, the Property




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                                   Opinion of the Court



met and complied with the requirements for such a permit.               The Property’s

subsequent change of ownership had no impact on the use of the Property.

      Starlites maintains that section 13-4(f) of the amended Ordinance essentially

constitutes a “grandfather clause,” allowing a prior permissible nonconforming use to

continue so long as such use was not discontinued for a period of one year. We agree.

We base our decision, first and foremost, upon the plain language of section 13-4(f) of

the amended Ordinance. Moreover, we note that the amended Ordinance contains

no provision that a change in ownership will constitute a “new” use or otherwise

invalidate a prior permissible nonconforming use.

      This Court previously addressed a similar issue in Graham Court Associates v.

Town Council of Chapel Hill, 53 N.C. App. 543, 281 S.E.2d 418 (1981). In Graham

Court, we examined “whether the power to control the uses of property through zoning

extends to control of the manner in which the property is owned.” 53 N.C. App. at

544, 281 S.E.2d at 419. Specifically, we considered whether a “change in ownership

. . . constitutes a change in use which the town can regulate by its zoning ordinance[,]”

and ultimately held that it does not. Id. at 547, 281 S.E.2d at 420.

      As our Court explained, “zoning is the regulation by a municipality of the use

of land within that municipality, and of the buildings and structures thereon – not

regulation of the ownership of the land or structures.” Id. at 546, 281 S.E.2d at 420
(citation omitted). “The test of nonconforming use is ‘use’ and not ownership or



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                                   Opinion of the Court



tenancy.” Id. at 547, 281 S.E.2d at 420 (citation omitted). Consequently, “[c]hanging

the type of ownership of real estate upon which a nonconforming use is located will

not destroy a valid existing nonconforming use.” Id. at 550, 281 S.E.2d at 422
(citation omitted). “[W]e do not regard a mere change from tenant occupancy to owner

occupancy as an extension or alteration of the previous non-conforming use of the

dwellings. And there is no question as to the right of [alienability] of property along

with its attendant valid non-conforming use.” Id. at 548, 281 S.E.2d at 421 (citation

omitted).

      MM&amp;K conveyed the Property to Starlites on 30 January 2015—nine days

after Starlites was incorporated on 21 January 2015, and approximately nine months

after the zoning permit was issued. A few months later, on 14 July 2015, articles of

dissolution were filed for both Starlites Technology, Inc. and MM&amp;K.

      At the hearing before the Board, Raynor testified that he dissolved both

entities “when the sweepstakes was officially . . . not allowed to operate anymore

according to the State.” Raynor further testified that the decision to dissolve Starlites

Technology, Inc. and MM&amp;K was also based, in part, on “consolidat[ion]” because he

determined that he “had too many companies[.]” According to Raynor, “Watts Group

was a separate company that had stores of its own as well as Starlites Technology,

Inc., has stores of its own. MM&amp;K was just a development company. It only owns

the property. That’s all—that’s all it ever has.”



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                                  Opinion of the Court



      In addition, Raynor testified about the use of certain software at the Property,

and proffered invoices to evidence the resulting expenses incurred during the

disputed “continuous use” of the Property. When a member of the Board asked

Raynor whether Raynor had “change[d] . . . the type of business” conducted, Raynor

replied that the business was “still underneath the same promotional—getting

promotional items. Still using the desktop computers. Everything was still the same.

It’s just a different kind of format they made.” In sum, Raynor testified that the use

of the Property remained the same, and that there had merely been a change in

ownership due to the consolidation of his companies.

      In his closing argument, Starlites’ defense counsel summarized the evidence

as follows:

              [Raynor] has been operating his business at this location
              well before the ordinance at issue was passed. The
              ordinance that the County maintains he’s got to comply
              with was passed, again, in September 2014. It’s an
              electronic gaming ordinance. Well before September 2014
              and on a continuous basis, he was offering his customers
              promotional games.

              The software changed. When the sweepstakes laws
              changed, he adopted a skill test, but all throughout, he’s
              been operating a business there and he’s been offering his
              customers promotional games.         So he is a prior
              nonconforming use. He’s grandfathered in. This ordinance
              doesn’t apply to him, and that’s why he hasn’t applied for
              it[.]




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                                  Opinion of the Court



In addition, to demonstrate “continuous use” of the Property, Raynor submitted

invoices showing his payment of expenses both before and after September 2014,

when the amended Ordinance was enacted.

      Accordingly, the Board improperly concluded that under the provisions of the

amended Ordinance, a change in ownership constituted a change in use, and that

Starlites was required to amend its zoning permit in order to legally continue the

same use of the Property.

      “Remand is not automatic when an appellate court’s obligation to review for

errors of law can be accomplished by addressing the dispositive issue(s).” Morris

Commc’ns Corp., 365 N.C. at 158, 712 S.E.2d at 872 (citation and internal quotation

marks omitted). “Under such circumstances the appellate court can determine how

the trial court should have decided the case upon application of the appropriate

standards of review.” Id. at 158-59, 712 S.E.2d at 872. Here, we can “reasonably

determine from the record[,]” id. at 159, 712 S.E.2d at 872-73 (citation omitted), that

Starlites’ challenge to the Board’s interpretation of the amended Ordinance warrants

reversal of the Board’s ultimate decision.

      Because this issue is dispositive, we need not address Starlites’ additional

arguments.

                                    Conclusion




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                                   Opinion of the Court



      “In sum, the rule of construction that zoning ordinances are strictly construed

in favor of the free use of real property is appropriately applied here.” Id. at 162, 712

S.E.2d at 874. The Board improperly concluded that Starlites was in violation of the

2014 amended Ordinance. Accordingly, because the Board’s interpretation of its

amended Unified Development Ordinance constituted an error of law, we reverse.

      REVERSED.

      Judges STROUD and MURPHY concur.




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